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IN THE UNITED sTATEs DIsTRIc'r coURT
FoR THE wEsTERN DISTRICT 0F TENNESSEE 95 AUG '3 FH 5= |7

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CUEHK US PETSK`O¥OUM
UNITED sTATEs 0F AMERICA, W),D Qr h §MS
Plainrirr,
v. criminal No. 02-20165-BBD

SHERRIE-LEE DOREEN CAVE,

Defendant.

 

ORDER RE: MODIFICATION OF DEFENDANT
SHERRIE-LEE DOREEN CAVE’S BOND

 

Good cause having been shown,

IT IS HEREBY ORDERED that the bond for Shem`e-Lee Doreen Cave be modified as
follows: the defendant may travel to Saskatchewan, Canada, from August 11 through 21, 2005.
Ms. Cave is to provide her Pretrial Services officer with her complete itinerary at least 48 hours
prior to her departure Further, Ms. Cave is to report to her Pretrial Services officer within 48
hours of her return to the Central District of California.

IT IS FURTHER ORDERED that Ms. Cave may renew her expired Canadian passport
and shall lodge her new passport with this Court on or before Septernber 2, 2005.

All other terms and conditions of the bond shall remain in full force and effect.

Dated; §§7;34.9005/ M M/M/M

HCNORABLE BERNICE BOUIE DONALD
United States District Judge

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w|th Hule 55 end/or 32(!:)) FFlCrP on

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California. I am over the age of 18
and not a party to the Within action. My business address is 800 Wilshire Boulevard, Suite 1510,
Los Angeles, Califomia 90017.

On August 1, 2005, I served the foregoing document described as Defendaot Sherrie-
Lee Doreen Cave’s Motion for Modjfication of Bond and Order Re: Modification of
Defendant Sherrie-Lee Doreen Cave’s Bond on all interested parties in this action by placing
true copies thereof enclosed in sealed envelopes addressed as follows:

Dan L. Newsom, Esq.

Assistant United States Attomey
167 North Main Street, Suite 800
Memphis, Tennessee 38103
Telephone: (901) 544-4231
Facsimile: (901) 544-4230

XXX BY MAIL: I deposited said envelopes with the United States Postal Service at Los
Angeles, Calif`ornia. The envelopes were mailed with postage thereon fully prepaid.

BY OVERNIGHT MAIL (VIA FEDEX): By placing a true copy thereof in sealed
envelopes addressed to the parties listed above (0r on the attached service list) and
causing them to be deposited in the Federal Express depository maintained at 800
Wilshire Boulevard, bos Angeles, California 90017. The envelopes were sent with
Federal Express fees fully paid, With written instructions for “next business day” delivery.

BY FACSIMILE TRANSMISSION: By transmitting a true copy thereof via facsimile
to the offices of the parties listed above. I caused the copy to be transmitted at

a.m./p.m. on August l, 2005, from facsimile number (213) 622-0445. The transmission
was reported as complete and without error. A copy of the transmission report is attached
to this Proof of Service.

FEDERAL: I declare that l arn employed in the office of a member of the bar of this
Court at whose direction this service was made. I declare under penalty of perjury under
the laws of the United States of America that the foregoing is true and correct,.

Executed on August l, 2005, at Los Angeles, California.

S Acl . MQMH

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 587 in
case 2:02-CR-20165 was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

